Case 1:16-cr-20840-PCH Document 57 Entered on FLSD Docket 03/20/2017 Page 1 of 2




                           UNITED STATES DISTRICT CO URT
                           SOUTH ERN DISTRICT OF FLO RIDA
                       CASE NO.:16-CR-20840-H UCK/OTAZO-REYES

  UN ITED STATES OF AM ERICA ,

         Plaintiff,



 ALEXIS VALDES GONZALEZ,

        Defendant.


                ORDER ADOPTING REPO RT AND RECOM M ENDATION

        TH IS CAU SE com es before the Courtupon M agistrate Judge Otazo- Reyes's Reportand
 Recommendation on Change ofPlea gD.E.511,which wasissued on M arch 2, 2017. ln the
 Reportand Recomm endation, M agistrate Judge Otazo-Reyes recom mends thatthe Defendant
                                                                                                 ,
 Alexis Valdes Gonzalez,be found to have freely and voluntarily entered a plea of guilty to
 Counts 1 and 2 of the Superseding Infonnation (D.E.               Count of the Superseding
 Inform ation charges the Defendant with knowingly and willfully conspiring to possess with
 intent to distribute a controlled substance -         specifically, fifty gram s or m ore of
 m etham phetam ine - in violation ofTitle 21U . S.C.Sections841(a)(1),841(b)(1)(A)(viii),and
 846. Count2 ofthe Superseding lnform ation chargesthe Defendantwith knowingly possessing
 a fireann and am munition, in and affecting interstate comm erce, in violation ofTitle 18 U .S.C
 Section 922(g)(1). M agistrateJudgeOtazo-ReyesrecommendsthattheDefendant'sguilty plea
 beaccepted,thattheDefendantbeadjudicatedguilty oftheoffensesto which thepleaofguilty
 has been entered,that a Pre-sentence Investigation Reportbe ordered, and that a sentencing
 hearing be conducted forfinaldisposition ofthis m atter. The Defendantand the Governm ent
 were afforded the opportunity to file objectionsto the Reportand Recommendation, butnone
 werefiled.Accordingly,having review edtherecord denovo, itishereby

       O RD ER ED AN D A D JU D G ED that M agistrate Judge O tazo- Reyes's Report and
 Recommendation on Change ofPlea (D.E.51J is adopted and approved in itsentirety The       .

 Defendant's guilty plea is accepted, and the Defendantis adjudged guilty ofknowingly and
w illfully conspiring to possess w ith intent to distribute a controlled substance in violation of
                                                                                ,
Case 1:16-cr-20840-PCH Document 57 Entered on FLSD Docket 03/20/2017 Page 2 of 2




 Title21U.S.C.Sections84l(a)(1),841(b)(1)(A)(viii),and 846;and ofknowingly possessing a
 firearm and amm unition,in and affecting interstate com merce, in violation of Title 18 U .S.C .
 Sedion 922(g)(1).A sentencinghearingwillbeheldbeforetheHonorablePaulC.Huck,atthe
 W ilkie D . Ferguson, Jr. United States Courthouse, 400 N orth M iam i A ve., 13th Floor,
 Courtroom 13-2,M iam i,Florida,on Tuesday,June 6,2017,at9:00 A .M .
                                                                                           (.
                                                                                            7'
                                                                                             =
        DONE AND ORDERED in Cham bersin M iami,Floridathisuz-lzl day ofM arch, 2017.

                                                                                               '''.
                                                                                                  ..
                                                                                                    Nu

                                                                  .
                                                                                                       )
                                                                                                       ?
                                                                                                       ' ''''Y'* -
                                                                                                               ..
                                                              A.
                                                        .- '. .
                                                              .
                                                                ..- - -
                                                               f'                              wrz...x
                                                                                      ....w'e.->x
                                                   -.
                                                                      oee-   -''-''
                                                   PAUL C.SUCK -                                            ''.
                                                   U .S.D ISTRICT COU RT JU D GE
 CopiesFurnished To:

 A llCounselofRecord
